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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


DONYELL HACKETT,

       Plaintiff,

vs.                                                           Case No. 2:15-cv-10682-RHC-RSW

GOCH & SONS TOWING, INC,

        Defendant.
______________________________________/
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______________________________________/


                STIPULATED ORDER FOR DISMISSAL OF COMPLAINT
                     WITH PREJUDICE AND WITHOUT COSTS

                            At a session of said Court, held in the City
                         of Detroit, County of Wayne, State of Michigan,
                                       on August 17, 2015.

                               PRESENT: Hon. Robert H. Cleland
                                        US District Court Judge

       This matter having been brought to be heard upon the stipulation of the parties, through

counsel, the Court otherwise being fully advised as to the premises,

       IT IS HEREBY ORDERED that Plaintiff’s Complaint in the above-captioned cause of
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action is dismissed as to all parties with prejudice and without costs to any party.

        This Order disposes of the last pending claim and closes the case.



                                                           s/Robert H. Cleland
                                                           US District Court Judge

APPROVED AS TO FORM AND CONTENT:


/s/ Adam G. Taub        .
Adam G. Taub (P-48703)
Attorneys for Plaintiff


/s/ James R. Austin     .
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